Case 2:85-cv-04544-DMG-AGR Document 351 Filed 03/16/17 Page 1 of 5 Page ID #:13071




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     Attorneys for plaintiffs (listing continues on following page)

14                               UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17   JENNY LISETTE FLORES, et al.,    )             Case No. CV 85-4544 DMG (AGRx)
18                                    )
             Plaintiffs,              )             JOINT STATEMENT REGARDING BRIEFING
19   - vs -                           )             SCHEDULE FOR PLAINTIFFS’ MOTION
20                                    )             FOR FEES AND COSTS UNDER THE EQUAL
     JEH JOHNSON, SECRETARY, U.S.     )             ACCESS TO JUSTICE ACT
21   DEPARTMENT OF HOMELAND SECURITY, )
     et al.,                          )             Hearing: None scheduled
22
                                      )
23           Defendants.              )
                                   _
24
25   Plaintiffs’ counsel, continued on next page:
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Case 2:85-cv-04544-DMG-AGR Document 351 Filed 03/16/17 Page 2 of 5 Page ID #:13072


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Case 2:85-cv-04544-DMG-AGR Document 351 Filed 03/16/17 Page 3 of 5 Page ID #:13073


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2           On November 2, 2016, Plaintiffs filed a Motion for Fees and Costs under the

3    Equal Access to Justice Act with exhibits (“Plaintiffs’ Fees Motion”) in the Ninth
4
     Circuit Court of Appeals. [Court of Appeals Docket # 65].1 On November, 16, 2016,
5
6    the Circuit Court granted Defendants’/Appellants’ application to remand Plaintiffs’
7    Fees Motion to the District Court [Court of Appeals Docket # 67; District Court
8
     Docket #276].
9
10          The parties respectfully request that the Court approve a briefing and hearing
11   schedule with regards to Plaintiffs’ Fees Motion.
12
            The parties propose that Defendants’ opposition to Plaintiffs’ Fees Motion be
13
14   filed on or before April 28, 2017; that Plaintiffs’ reply brief, if any, be filed on or
15   before May 26, 2017; that Plaintiffs’ Fees Motion be scheduled for hearing on June 9,
16
     2017, or as soon thereafter as may be scheduled by the Court.
17
18          A proposed order is being lodged herewith.
19
                                                            Respectfully submitted,
20
                                                            CENTER FOR HUMAN RIGHTS &
21
                                                            CONSTITUTIONAL LAW
22                                                          Peter A. Schey
                                                            Carlos Holguín
23
24                                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                            Elena García
25
26
     1 A copy of Plaintiffs’ Motion for Fees and Costs under the Equal Access to Justice Act and exhibits
27
     filed with the Ninth Circuit Court of Appeals is filed herewith as Exhibit A.
28


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Case 2:85-cv-04544-DMG-AGR Document 351 Filed 03/16/17 Page 4 of 5 Page ID #:13074


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2                                               LA RAZA CENTRO LEGAL, INC.
                                                Michael Sorgen
3                                               Amanda Alvarado Ford
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                                                LAW FOUNDATION OF SILICON VALLEY -
5                                               LEGAL ADVOCATES FOR CHILDREN &
6                                               YOUTH
                                                Jennifer Kelleher Cloyd
7                                               Katherine H. Manning
8                                               Kyra Kazantzis
                                                Annette Kirkham
9
10
                                                Of counsel:

11                                              YOUTH LAW CENTER
                                                Virginia Corrigan
12
13   Dated: March 16, 2017                      /s/__Peter Schey_____
                                                Attorneys for Plaintiffs
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Case 2:85-cv-04544-DMG-AGR Document 351 Filed 03/16/17 Page 5 of 5 Page ID #:13075


1
2                                    CERTIFICATE OF SERVICE

3          I, Peter Schey, declare and say as follows:
4
           I am over the age of eighteen years of age and am a party to this action. I am
5
6    employed in the County of Los Angeles, State of California. My business address is
7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
           On March 16, 2017 I electronically filed the following document(s):
9
10      •   JOINT STATEMENT REGARDING BRIEFING SCHEDULE FOR PLAINTIFFS’ MOTION FOR
            FEES AND COSTS UNDER THE EQUAL ACCESS TO JUSTICE ACT
11
12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15
16
                                                  /s/__Peter Schey_____
17
                                                  Attorney for Plaintiffs
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